Johnson Exhibit A
From:               GMIS@Odh.ohio.gov
To:                 Pettiford, Katie A.
Subject:            [EXTERNAL] GMIS Automated Bulletin Board Email: UPDATE -Revised Notice of Awards - Effective 3-24-2025
Date:               Wednesday, March 26, 2025 5:05:37 PM


Dear Katie Pettiford,

“On March 25, 2025, Ohio Department of Health (ODH) staff were notified through revised Notices of Awards placed in the
GrantSolutions portal that the following federal grants were revised to change the period of performance end date to March 24,
2025: • Ohio Initiative to Address COVID-19 Health Disparities Among Populations Underserved and at High-Risk: (GMIS Project:
Ohio Health Improvement Zones Pilot – OI23). • CK19-1904 Epidemiology and Laboratory Capacity for Prevention and Control of
Emerging Infectious Diseases (ELC): (GMIS Project: COVID-19 Enhanced Operations – EO23) • CDC-RFA-DP21-2109 Community
Health Workers for COVID Response and Resilience: (GMIS Project: Community Health Worker – CW24) • CDC-RFA-IP19-1901
Immunization and Vaccines for Children. (No current GMIS Project) We are reaching out to the Centers for Disease Control and
Prevention for clarification and guidance. Meanwhile, all work on any contract funded by one of the above federal grants shall be
considered paused until further notice. As of the new project ending date of March 24, 2025, ODH has no further obligation under
the agreement funded by the listed sources. ODH cannot compensate contractors for any work performed after the period of
performance end date. Under the revised notice of award, ODH must submit a final Federal Financial Report (FFR) to CDC for these
COVID-19 grants in less than 30 days. This means ODH must review and pay all invoices, complete all accounting entries, and finalize
the reports in less than 30 days. In light of this short turnaround time, you will need to prepare a final invoice for work performed on
these grants/projects through March 24, 2025 and submit it in GMIS for subgrants in GMIS as soon as possible but no later than
April 4, 2025. Thank you for your cooperation.”

This is an automated message from the GMIS Application so please do not reply.
You are receiving this email because you have been assigned the Subgrantee role access in GMIS.


This e-mail is intended for the sole use of the intended recipient and may contain privileged, sensitive, or protected health
information. If you are not the intended recipient, be advised that the unauthorized use, disclosure, copying, distribution, or
action taken in reliance on the contents of this communication is prohibited. If you have received this e-mail in error, please
notify the sender via telephone or return e-mail and immediately delete this e-mail.
